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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

DARIEN HARRIS,                                  )
                                                )
                Plaintiff,                      )       Case No. 2024-cv-03215
                                                )
        v.                                      )
                                                )
CITY OF CHICAGO, et al.,                        )       Honorable Judge Lindsay C. Jenkins
                                                )
                         Defendants.            )


              DEFENDANT CITY OF CHICAGO’S UNOPPOSED MOTION
                     FOR LEAVE TO FILE EXCESS PAGES

        Defendant City of Chicago (the “City”), by and through its undersigned counsel, respectfully

requests leave to file their Motion to Dismiss Plaintiff’s Complaint, in excess of fifteen (15) pages. In

support thereof, the City states as follows:

1. Plaintiff Darien Harris filed his complaint for a civil rights lawsuit on April 22, 2024. Dkt. 1.

2. In his complaint, Plaintiff asserts broad and expansive Monell claims against the City. Dkt. 1.

3. The City intends on filing a Motion to Dismiss the Monell claim pursuant to the Court’s deadline

    on August 26, 2024. Dkt. 28.

4. Local Rule 7.1 imposes a fifteen-page limit on such motions. The City has attempted to draft the

    Motion as succinctly as possible, valuing efficiency and the time of all parties involved. However,

    to sufficiently address the complex claims against the City, Defendant City requests leave to file

    excess pages, not to exceed nineteen (19) pages.

5. The Motion to Dismiss will comply with Local Rule 7.1’s requirement that briefs in excess of

    fifteen pages have a table of contents and a table of authorities.

6. On August 21, 2024, counsel for the City conferred with counsel for Plaintiff and Plaintiff does

    not object to this motion.


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       WHEREOFRE, the City respectfully requests leave to file an oversized Motion to Dismiss

not to exceed nineteen (19) pages.

Dated: August 22, 2024                           Respectfully submitted,

                                                 /s/ Neha Locke
                                                 Shneur Nathan (snathan@nklawllp.com)
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                                                 Attorneys for Defendant City of Chicago




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                                CERTIFICATE OF SERVICE

       I, Neha Locke, an attorney, hereby certify that I caused the foregoing document to be filed

with the Court’s CM/ECF system, which provided electronic notice and a copy of the same to all

counsel of record.

                                                    /s/ Neha Locke




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